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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

Bill Murray,

       Plaintiff,                                      Case No. 2:20-cv-4488

       V.                                              Judge Michael Watson

Commissioner of Social Security,                       Magistrate Judge Jolson

       Defendant.

                                        ORDER

      On November 18, 2021, Magistrate Judge Jolson issued a Report and

Recommendation ("R&R") in this case recommending the Court overrule Plaintiffs

Statement of Specific Errors and affirm the Commissioner of Social Security's decision

in this case. R&R, ECF No. 21.

      The R&R advised the parties of their right to object to the same and specifically

warned the parties that a failure to timely object would amount to a waiver of both the

right to de novo review by the Undersigned and the right to appeal the Undersigned's

adoption of the R&R. W. at15.

      The deadline for objections has passed, and none were filed. Accordingly,

without further review, the Undersigned ADOPTS the R&R, OVERRULES Plaintiffs

Statement of Errors, and AFFIRMS the Commissioner's decision. The Clerk shall enter

judgment for Defendant and terminate this case.

      IT IS SO ORDERED.




                                                MICHAEL H. WATSON, JUDGE
                                                UNITED STATES DISTRICT COURT
